Case:13-19032-MER Doc#:52-1 Filed:08/02/13           Entered:08/02/13 14:51:14 Page1 of 1

                                         ATTACHMENT 1

                        UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF COLORADO


                   In re: Terry Lee Evanson and Lynette Pearce Evanson
                            Chapter 11, Case No. 13-19032-MER

   SUBMITTED BY: TERRY LEE EVANSON AND LYNETTE PEARCE EVANSON
   In connection with: August 7, 2013 Hearing on Command Center, Inc.’s Motion for Relief
        from Stay

    Ex. No.    Brief Description             Offered Admitted Additional Comments
                                             (Yes/No) (Yes/No)
    A.         Motion for Examination
               of Terry Lee Evanson and
               Lynette Pearce Evanson
    B.         Objection to Discharge
               And Complaint Under
               523(a)(2), (4) & (6) of the
               Bankruptcy Code to
               Determine the
               Dischargeability of a
               Debt, Bankruptcy Case
               No. 13-10006-MER
    C.         Any pleading or exhibit
               used in present case
    D.         Any exhibit identified or
               offered by any other party
    E.         Any documents necessary
               for rebuttal or
               impeachment
               purposes
